
DUFRESNE, Chief Justice
(dissenting).
The minor female petitioners, one nearly 16 years of age and the other 14%j were committed to the Stevens School for the term of their minority in the District Court sitting as a Juvenile Court. 15 M. R.S.A. §§ 2611(4, par. B), 2714. Their commitment to the School followed an adjudication by the Judge of the Juvenile Court that they had committed the juvenile offense of “living in circumstances of manifest danger of falling into habits of vice or immorality.” 15 M.R.S.A. § 2552. They respectively instituted petitions for a writ of habeas corpus to set aside their “conviction” (adjudication of guilt of a juvenile offense) and commitment to the Stevens School on the ground that the juvenile offense for which they were committed is unconstitutionally vague by statutory definition, that the Juvenile Court’s adjudication of their guilt of juvenile offenses was in violation of the Due Process and Equal Protection Clauses of the Fourteenth Amendment to the United States Constitution as well as of Article 1, Section 6-A of the Maine Constitution. The cases were consolidated on report to this Court.
The instant report clearly demonstrates by express averment in the agreed statement of facts and in the petitions for the writ of habeas corpus that these juveniles were brought before the District Court sitting as a Juvenile Court
“by a Petition alleging that she was ‘living in circumstances of manifest danger of falling into habits of vice and immorality.’ ” (Emphasis added.)
The respondents’ answer does not dispute this, but expressly admits it,
“stat[ing] affirmatively that ‘living in circumstances of manifest danger of falling into habits of vice or immorality’ is not a criminal offense * * *, but is conduct appropriately and constitutionally within the jurisdiction of the Juvenile Court and upon which adjudication and disposition may he constitutionally made.” (Emphasis supplied.)
The agreed statement of facts further observes that the Court’s adjudication itself was on a specific finding that the juveniles had committed the conduct
“described as follows in 15 M.R.S.A. 1964, § 2552: ‘living in circumstances of manifest danger of falling into habits of vice or immorality.’ ”
The only reasonable interpretation to be given to such a report, it seems to me, with due respect to my colleagues, is that the petition before the Juvenile Court, in the totality of its allegations, merely charged the juvenile offense in the language of the statute and was violative of Section 2602, *572Title IS, M.R.S.A., which requires the verified petition to contain
“[a] plain statement of the facts which bring the juvenile complained against within chapters 401 to 409; * * *”
This Court concedes that “the petition must state facts demonstrating that the juvenile’s conduct constitutes ‘living in circumstances of manifest danger of falling into habits of vice or immorality.’ ” I infer from the Court’s ruling that, absent such specificity in the petition, the juvenile proceedings would be violative, not only of the reference statute, hut also of due process, and an adjudication based on such a defective charging instrument would be a nullity.
The Court’s reading into the instant report the fact that the petitions before the Juvenile Court alleged particulars of conduct to support the conclusory statement that the respective juveniles were living in circumstances of manifest danger of falling into habits of vice or immorality is not supported by the record, nor was such a fact suggested by the parties either at oral argument or in their briefs.
In the posture in which the case is presented to us, I would discharge the report and refrain from rendering an advisory opinion respecting the constitutionality of the juvenile offender statute (15 M.R.S.A., § 2552). Although I agree that the resolution of this constitutional question would serve a useful purpose in giving guidance to future police activity in the field of juvenile control and to the juvenile courts in the administration of the juvenile offense system, nevertheless, if the present procedural device to obtain the opinion of the Law Court upon the constitutionality of statutes by limiting the thrust of attack to the face of the statutes without full supplement of the facts giving rise to their application is presently approved, I view this with alarm as an unwise departure from a salutary policy of long standing in this Court. See, Fidelity &amp; Casualty Company v. Bodwell Granite Company, 1906, 102 Me. 148, 66 A. 314.
Initially, may I note that the absence, in the instant report, of the complete recital of the petitions before the Juvenile Court (since this Court is reaching out by implication and surmise that the petitions did in fact specify conduct which supported the charge that the juveniles were living in manifest danger of falling into habits of vice and immorality), is a definite breach of Rule 72(b), which conditions reports to this Court on the occasion—
“where there is agreement as to all material facts.”—
If the petitions before the Juvenile Court contained allegations of fact beyond the mere recital of the statutory conclusory language, then the instant report does not reflect an agreement “as to all material facts.”
Where the report does not unequivocally support this Court’s interpretation of the facts agreed upon by the parties, it should not be entertained, since the Court has not before it the necessary information for the application of the judicial policy of this Court to decline to pass upon the question of constitutionality of a statute unless this is entirely necessary to a decision of the cause in which it is raised. Johnson v. Maine Wetlands Control Board, 1969, Me., 250 A.2d 825. See, Chaplin, Judge of Probate v. National Surety Corporation, 1936, 134 Me. 496, 185 A. 516.
In State v. Hopkins, 1958, 154 Me. 317, 147 A.2d 450, the criminal complaint charging speeding on the Maine Turnpike did not allege that the rules and regulations of the Maine Turnpike Authority were ever published. Even in the face of contentions that serious constitutional questions were involved arising out of the alleged delegation of legislative power to the Authority, this Court said:
“Following well defined and established precedents, we hold that when reasons are apparent for sustaining a de*573murrer without resort to any constitutional question, the latter issue is not reached.” (Emphasis mine.)
In State v. White, 1971, Me., 280 A.2d 810, the parties had raised on report two issues, 1) that the statute proscribing “disorderly conduct” was constitutionally invalid as impermissibly vague and overbroad, and 2) that the complaint was legally insufficient to charge any criminal offense. Identical issues are presented in this case respecting the juvenile offender statute in connection with the juvenile offense of “living in circumstances of manifest danger of falling into habits of vice or immorality.” In White, Mr. Justice Webber for a unanimous court applied the well established rule that questions of constitutional law should not be passed upon unless strictly necessary to a decision of the cause under consideration and dismissed the complaint, but declined to rule on the constitutionality of the statute. The Court there said:
“the complaint fails to inform either the respondent or the Court as to what acts involving respondent’s conduct or language are said to have occurred and to have amounted to disorderly conduct, the ultimate fact. The importance' of this requirement becomes apparent when we consider that many forms of conduct and language, although distasteful to certain individuals or even to a majority of people, are nevertheless afforded constitutional protection. [Obviously, similar conclusions could be reached with respect to juvenile conduct.] The complaint must be worded with a sufficient specificity to enable the Court to make such a determination.”
This judicial policy has been adhered to and not departed from (except for strong reason and under extraordinary circumstances such as were present in Morris v. Goss, 1951, 147 Me. 89, 83 A.2d 556). See, Vigue v. Chapman, 1941, 138 Me. 206, 24 A.2d 241; Inhabitants of Town of Warren v. Norwood, 1941, 138 Me. 180, 24 A.2d 229; Payne v. Graham, 1919, 118 Me. 251, 107 A. 709, 7 A.L.R. 516.
Where the facts are not fully or adequately stated, this Court will not pass upon the constitutionality of a statute. State v. Bailey, 1972, Me., 286 A.2d 603; State v. Colburn, 1936, 134 Me. 494, 182 A. 210.
I am aware of State v. Aucoin, 1971, Me., 278 A.2d 395, which came before the White decision. But in Aucoin, the complaint was before the Court and did allege conduct beyond the wording of the ordinance. This Court in Aucoin did not attempt to bring the ordinance involved, by means of interpretation of legislative purpose, from its obvious constitutional over-breadth to a more specific meaning that might have passed constitutional muster, and the criminal prosecution was finally concluded by resolving the constitutionality of the ordinance. Furthermore, the Court’s last-resort policy in deciding constitutional questions was not referred to in the opinion.
In the instant case, this Court’s decision would not bar a subsequent petition by these petitioners for the writ of habeas corpus to test their commitment a second time, if the petition which brought them before the Juvenile Court did in fact charge the juvenile offense only in terms of the statute as I interpret the report.
In Wade v. Warden of State Prison, 1950, 145 Me. 120, 73 A.2d 128, this Court held that juvenile courts are courts of special and limited jurisdiction and authority, and that the statutory requirements provided for its exercise of its duties are jurisdictional and cannot be waived. I am mindful of Willette v. Umhoeffer, 1970, Me., 268 A.2d 617, which, in another context, stated that the issue- of jurisdiction must reach finality the same as any other issue and would be subject to the doctrine of res adjudicata. I am also cognizant of 14 M.R.S.A., § 5507, which says
—“All grounds for relief claimed by a petitioner under this remedy must be *574raised by a petitioner in his original or amended petition, and any grounds not so raised are waived unless the State or Federal Constitution otherwise requires * * — (Emphasis put in.)
The Juvenile Court’s adjudication of guilt of a juvenile offense upon a petition couched solely in the words of the statute
“living in manifest danger of falling into habits of vice and immorality,”
if such be the fact contrary to this Court’s interpretation of the instant report, would render the juvenile proceedings, including the commitment, null and void for want of jurisdiction. As stated in Dow v. State, 1971, Me., 275 A.2d 815, this Court is firmly committed to the rule that jurisdictional questions are always open to judicial scrutiny.
That these petitioners, at the habeas corpus level, voluntarily and understandingly waived before that Court the jurisdictional issue and consented to the presentment of the instant report with the jurisdictional issue in mind, does not appear, and waivers of constitutional rights based upon a silent record will not be countenanced, notwithstanding 14 M.R.S.A., § 5507. Such consent, to be valid, must be given under circumstances evidencing an intentional waiver of a known right and will not be presumed from a silent record. See, Carnley v. Cochran, 1962, 369 U.S. 506, 82 S.Ct. 884, 8 L.Ed.2d 70; Boykin v. Alabama, 1969, 395 U.S. 238, 89 S.Ct. 1709, 23 L.Ed.2d 274.
Where this Court narrows the meaning of the juvenile offender statute to meet the due process requirements of the Fourteenth Amendment, it should, at the very least, set aside the reference adjudication and commitment and order the case remanded to the Juvenile Court for a new hearing under the statute as now construed, in order to make sure that the petitioners’ commitment be not the result of an unconstitutional construction by the Juvenile Judge of the juvenile offender statute. See, Shuttlesworth v. City of Birmingham, 1965, 382 U.S. 87, 86 S.Ct. 211, 15 L.Ed.2d 176; Ashton v. Kentucky, 1966, 384 U.S. 195, 86 S.Ct. 1407, 16 L.Ed.2d 469.
In my view, this Court should not decide the important constitutional issues presented in the instant case without a full record showing distinctly with what specific conduct these petitioners were charged to have been engaged in that led to an adjudication of juvenile delinquency under the statutory provision herein contested, and, for that reason, I would discharge the report or at least remand the case with instructions that the habeas Court give both parties an opportunity to supplement the deficiency in this record. Constitutional questions are not to be dealt with abstractly. Allen-Bradley Local, etc. v. Wisconsin Employment Relations Board, 1942, 315 U.S. 740, 746, 62 S.Ct. 820, 824, 86 L.Ed. 1154; Local No. 8-6, Oil, etc., Workers International Union v. Missouri, 1960, 361 U.S. 363, 370, 80 S.Ct. 391, 396, 4 L.Ed.2d 373.
Seeing that this Court reaches the merits of the problem posited by the parties, I feel it my duty to express my own views on the subject. However, I do so reluctantly, since it is my opinion, with due respect to my colleagues, that this Court is engaging in the giving of an advisory opinion upon a case not “factually” before us.
The reported issue is, whether 15 M.R. S.A. § 2552 prohibiting the following conduct of juveniles
—“living in circumstances of manifest danger of falling into habits of vice or immorality”—
is facially unconstitutional on the ground of vagueness. The Maine Juvenile Act is no different from most of the statutes on the subject in the various states. In certain aspects, the Act is very specific in that it makes it an offense for a juvenile to commit any of the offenses made criminal when committed by adults, plus habitual truancy and repetitive desertion of one’s *575home without just cause, but, then, in an effort to vest a broad discretion in the Juvenile Court, the Legislature extends the definition of a juvenile offense to include an open-ended general concept of offensive conduct such as “behaving in an incorrigible or indecent and lascivious manner”, “knowingly and willfully associating with vicious, criminal or grossly immoral people” and “living in circumstances of manifest danger of falling into habits of vice or immorality.” We are only concerned with the last portion of the statute.
The “void for vagueness” doctrine, applicable to test the constitutionality of any statutory provision, requires that a statute be sufficiently certain and definite in meaning to afford a reasonable degree of guidance as to just what constitutes the conduct required or prohibited to all involved in its application, to the persons whose activity the statute attempts to regulate, to the courts who must decide rights or obligations under it, and, in the criminal and juvenile sectors, to the police who are charged with its enforcement. Stated otherwise, the rule is that “a statute which either forbids or requires the doing of an act in terms so vague that men of common intelligence must necessarily guess at its meaning and differ as to its application violates the first essential of due process . . Connally v. General Construction Co., 1926, 269 U.S. 385, 391, 46 S.Ct. 126, 127, 70 L.Ed. 322; United States v. National Dairy Products Corp., 1963, 372 U.S. 29, 32, 83 S.Ct. 594, 598, 9 L.Ed.2d 561.
This Court has equated, at least in criminal jurisprudence, the requirement of reasonable certainty in statutory enactments with due process of law. Knowlton v. State, 1969, Me., 257 A.2d 409.
Reasonable precision in the definition of proscribed conduct for juveniles should occupy a position of the highest order in the scheme of constitutional values, equally so with similar reasonable particularity in the definition of prohibited adult criminal activity. A juvenile’s forfeiture of his liberty for committing a juvenile offense is just as weighty on the scales of justice in terms of due process of law as an adult’s loss of liberty for conviction of crime. Statutory vagueness in legislation regulating juvenile conduct under penalty of State wardship is equally abhorrent under considerations of fair play, if not more so, as uncertainty in criminal statutes may be to the adult world. Definitional uncertainty in a juvenile offense statute is an open invitation to virtually unfettered administration by the police and arbitrary judicial adjudication by the courts. It lends itself to an unconstitutional delegation of legislative power to the juvenile judge by permitting him to decide without reasonable legislative standards what the law is in each case. It makes for unequal dispensation of justice. All persons are entitled to be informed as to what the State commands or forbids. Lanzetta v. State of New Jersey, 1939, 306 U.S. 451, 59 S.Ct. 618, 83 L.Ed. 888.
The “void for vagueness” doctrine applies in any area, including the sphere of juvenile-conduct regulatory legislation. Vague laws in any context suffer a constitutional infirmity. Ashton v. Kentucky, 1966, 384 U.S. 195, 86 S.Ct. 1407 at 1410, 16 L.Ed.2d 469 (criminal libel) : see also, cases cited in footnote 1 in Ashton; Jordan v. DeGeorge, 1951, 341 U.S. 223, 71 S.Ct. 703, 95 L.Ed. 886 (deportation case); Giaccio v. State of Pennsylvania, 1966, 382 U.S. 399, 86 S.Ct. 518, 15 L.Ed.2d 447 (imposition of costs at discretion of jury upon a defendant acquitted of crime); A. B. Small Co. v. American Sugar Refining Co., 1925, 267 U.S. 233, 45 S.Ct. 295, 69 L.Ed. 589; Soglin v. Kauffman, 1969, 7 Cir., 418 F.2d 163 (unconstitutional vagueness of term “misconduct” in state university code of discipline).
The Oregon Court has concluded that a juvenile has the same right to challenge the constitutionality of a juvenile act proscribing behavior endangering his own welfare or the welfare of others as the adult who is prosecuted for the crime of *576contributing- to the identical juvenile conduct made a juvenile offense against the minor child. State v. Oman, 1969, Or., 457 P.2d 496; see also, State v. Hodges, 1969, Or., 457 P.2d 491.
The power of the State to act as parens patriae for the benefit of children and adolescents does not override the constitutional privilege of substantive due process to which minor children are entitled equally as much as adults. In Shone v. State, 1968, Me., 237 A.2d 412, this Court recognized that due process concepts apply in cases of deprivation of liberty other than in criminal cases. See, Sleeper, Appellant, 1952, 147 Me. 302, 87 A.2d 115; City of Portland v. City of Bangor, 1876, 65 Me. 120.
It is contended that the Maine Juvenile Act, in defining juvenile offenses in terms of “living in circumstances of manifest danger of falling into habits of vice or immorality” is unconstitutionally vague and violative of due process, because it imposes a loss of liberty upon the status or mode of life of the juvenile. It is true that, according to Webster’s definitions of “living”, the term may refer to the “state” of a person, to the “fact of being” in circumstances of manifest danger of falling into habits of vice or immorality. On the other hand, it could refer to the concept of “producing . . . action” which brings about such circumstances. Construing the statute in the light of the benevolent purposes of the juvenile legislation, I do ascribe to the Legislature an intent to proscribe active conduct and not to penalize a juvenile’s status as such acquired by the pursuit of a certain pattern of living. Thus, the Act in this area would pass constitutional requirements, provided the definition of the juvenile offense in its totality furnishes the necessary intelligible standards to guide the child, his parents, the police and the courts. See, Knowlton v. State, supra.
In McKeiver v. Pennsylvania, 1971, 403 U.S. 528, 91 S.Ct. 1976, 29 L.Ed.2d 647, the Supreme Court of the United States reviewed its prior decisions to determine the impact of the Due Process Clause of the Fourteenth Amendment upon the adjudicative phase of a state juvenile court delinquency proceeding.1 It concluded:
“1. Some of the constitutional requirements attendant upon the state criminal trial have equal application to that part of the state juvenile proceeding that is adjudicative in nature. Among these are the rights to appropriate notice, to counsel, to confrontation and to cross-examination, and the privilege against self-incrimination. Included, also, is the standard of proof beyond a reasonable doubt. [Emphasis mine.]
2. The Court, however, has not yet said that all rights constitutionally assured to an adult accused of crime also are to be enforced or made available to the juvenile in his delinquency proceeding. Indeed, the Court specifically has refrained from going that far:
‘We do not mean by this to indicate that the hearing to be held must conform with all of the requirements of a criminal trial or even of the usual administrative hearing; but we do hold that the hearing must measure up to the essentials of due process and fair treatment.’ . .” [Emphasis supplied.]
The McKeiver Court accentuated the fact that the underlying reason for subjecting the adjudicatory framework of state juvenile delinquency proceedings to the fundamental fairness test of the Due Process Clause was the realization that a deter*577mination unfavorable to the juvenile meant the loss of his liberty and commitment to a state institution. The Court further stated that the juvenile’s aggregate rights to notice of the charge, to counsel representation, to confrontation of the witnesses, to cross-examination and to the standard of proof beyond a reasonable doubt, were fundamental requirements in any factfind-ing system properly structured for accuracy of factual determinations. The Court ruled that
“[i]f the jury trial were to be injected into the juvenile court system as a matter of right, it would bring with it into that system the traditional delay, the formality, and the clamor of the adversary system and, possibly, the public trial” * * *
and opined that the “informality, flexibility, or speed” of the juvenile court system as envisioned by the Winship Court would be lost.
I do believe with the McKeiver Court that the objectives of juvenile delinquency acts to
“insure that the juvenile court will operate in an atmosphere which is orderly enough to impress the juvenile with the gravity of the situation and the impartiality of the tribunal and at the same time informal enough to permit, the benefits of the juvenile system to operate”
can be reached, while at the same time constitutional fundamental fairness, which requires reasonable certainty and- definiteness in legislative enactments, is assured, a condition in no way affecting adversely the juvenile offense structure, but rather promoting its ultimate purpose of accuracy in the factfinding process.
It is within the legislative domain to prohibit juvenile conduct conducive to future criminality. The Legislature may pass laws designed to protect minor children against a life of delinquency and determine in its wisdom what activities involve danger that a child will become a hazard either to himself or to society. State v. Monahan, 1954, 15 N.J. 34, 104 A.2d 21. The State may, to protect its interest in the proper operation, control and discipline of the family unit, pass legislation tending to insure the existence of harmonious relations between family members, and between the family unit and the rest of the public society, to the extent of making it a crime or a juvenile offense for juveniles persistently to disobey reasonable and lawful parental commands. See, Commonwealth v. Brasher, 1971, Mass., 270 N.E.2d 389. But, all such laws, designed to suppress crime in the future through preventive conviction and incarceration in the case of adults or preventive adjudication of delinquency and wardship when juveniles are involved, as desirable as they may be to combat crime or juvenile delinquency, cannot be achieved through techniques that trample on constitutional rights. See, Ricks v. District of Columbia, 1968, 134 U.S.App.D.C. 201, 414 F.2d 1097 at pages 1109, 1110; also cases cited at footnote 79 therein. The rule of law implies equality and justice in application which cannot exist when legislation provides no reasonable standard to determine prohibited conduct.
Some courts have said that in a sphere so vital to the community as the welfare of its youth, the use of words of general meaning in a statute designed to enable the Legislature to come to grips effectively with the problem of juvenile delinquency should be upheld where their frequent use in penal statutes gives assurance that they are understood by men of ordinary intelligence, or that terms such as general welfare, health, peace, morals and safety of the people, and sense of decency have a well-accepted and understood meaning. E. S. G. v. State, 1969, Tex.Civ.App., 447 S.W.2d 225; Lowe v. Texas Liquor Control Board, 1952, Tex.Civ.App., 255 S.W.2d 252; People v. Deibert, 1953, 117 Cal.App.2d 410, 256 P.2d 355. Such assumptions, contrary to factual reality, are non-persuasive.
*578The pre-Gault rationale of the Connecticut Court approved in State v. Mattiello, 1966, 4 Conn.Cir. 55, 225 A.2d 507, and in cases from other courts cited therein, to the effect that “[t]o save a child from becoming' a criminal, or from continuing in a career of crime, to end in maturer years in public punishment and disgrace, the Legislature surely may provide for the salvation of such a child, if its parents or guardian be unable or unwilling to do so, by bringing it into one of the courts of the state without any process at all, for the purpose of subjecting it to the state’s guardianship and protection,” has been fully discredited by the trilogy of Gault, Winship and Melt ewer.
As stated in Richards v. Thurston, 1970, 1 Cir., 424 F.2d 1281, I believe that the Due Process Clause of the Fourteenth Amendment establishes a sphere of personal liberty for every individual, and this includes juveniles, subject to reasonable intrusions by the State in furtherance of legitimate state interests. A juvenile has a constitutional right to freedom from being state institutionalized except for justifiable state action in furtherance of a legitimate public interest but, even then, the State’s exercise of power must be energized, and deployed within proper constitutional strictures, one of which is that the statute defining the State’s right to interfere must provide reasonable standards to guarantee against arbitrary and unequal application of the law.
True, there is a presumption of constitutionality of great strength in favor of all acts of the Legislature. State v. Fantastic Fair and Karmil Merchandising Corp., 1961, 158 Me. 450, 186 A.2d 352; Look v. State, 1970, Me., 267 A.2d 907. It is a well settled rule of construction that, if a statute is susceptible of two interpretations, and one of the interpretations will render the statute unconstitutional and the other will not, the latter should be adopted. State v. Intoxicating Liquors, 1888, 80 Me. 57, 12 A. 794. The presumption and the rule of construction are based on the judicial assumption that the Legislature acted with knowledge of constitutional restrictions, and that the Legislature honestly believed that it was acting within its rights, duties and powers when it passed the legislation. Baxter v. Waterville Sewerage District, 1951, 146 Me. 211, 214, 79 A.2d 585. But the Court’s ultimate duty is to determine legislative intent. It is not concerned with the consequences of statutory provisions. The Court must interpret and not make the law. Farris, ex rel. Dorsky v. Goss, 1948, 143 Me. 227, 60 A.2d 908.
The concept of juveniles found “living in circumstances of manifest danger of falling into habits of vice or immorality” is not of recent vintage. The Legislature made it the basis for civil commitment of young girls to the Maine Industrial School for Girls under Public Laws, 1873, chapter 141. The Legislature then also permitted State wardship for young girls “leading an idle, vagrant or vicious life.” We must, therefore, approach the construction of the reference statute having in mind that the Legislature was thinking in terms of modes of life in juveniles mostly characterized by idleness and vagrancy which were then philosophically considered fertile soil of future criminality. Far from the minds of our Legislators was the modern precision of constitutional due process espoused by the Gault, Winship and McKeiver decisions.
The reference section of the Juvenile Act is so vague that it affords an almost boundless area for individual subjective assessment of a child’s behavior as the test for determination of prohibited juvenile conduct. In the instant case, where the offensive conduct is not before us, First Amendment rights may be involved and the statute as written is subject to unconstitutional overbreadth. To a great portion of the people of this State, juveniles participating in demonstrations are living in circumstances of manifest danger of falling into habits of vice or immorality. By reason of its constitutional overbreadth in the area of First Amendment rights, this *579Court should outlaw this offensive section of the statute. When a legislative act is so clearly, manifestly and irreconcilably conflicting with the constitution by any reasonable construction, this Court has no alternative than to declare it invalid in fulfillment of its own imperative and unceasing obligation to support the constitution. State v. Butler, 1909, 105 Me. 91, 73 A. 560. A statute which may sweep within its broad scope activities constitutionally protected by the First Amendment must be stricken down as unconstitutional. Cox v. State of Louisiana, 1965, 379 U.S. 536, 85 S.Ct. 453, 13 L.Ed.2d 471.
For this Court to narrow the meaning of the Act beyond any reasonable belief of factual legislative intent smacks of judicial legislation rather than judicial construction. I am satisfied that the Legislature is fully capable of delineating with reasonable precision the type of activity which it considers likely to develop habits of undesired social misconduct in juveniles. The youth of this State are entitled to know what conduct will jeopardize their right to live at home and force them into a State institution. The application of due process requirements to the statute defining juvenile offenses will in no way affect the informality, flexibility, or speed of the juvenile hearing, except that it will protect the child against the uncontrolled subjective discretion of well-meaning officials. Instead of being disruptive of the juvenile process, compliance with fair notice requirements will advance the basic philosophy, idealism and purposes of the system.
It is conceded that the language of the statute — “habits of vice or immorality” — , when used in their unbridled connotation, fails to meet that degree of specificity which due process enjoins on legislative enactments purporting to regulate conduct the violation of which subjects the individual to the loss of his liberties. Indeed, “vice”, according to Webster’s Dictionary, is defined as a moral fault or failing, especially immoral conduct or habit, as in the indulgence of degrading appetites, such as the vice of gluttony; other meanings include the state of being given up to evil conduct or habit, depravity, wickedness and corruption. “Immorality”, on the other hand, is stated to be vice, wickedness, especially unchastity or an immoral act or practice. The concept of morality, and the same would be true of its near-synonym “vice”, has occupied men of extraordinary intelligence for centuries, without notable progress (among even philosophers and theologians) toward a common understanding. Certainly, the present generation has a much different conception of the term from that entertained by past generations. A legislative directive addressed to children couched in terms so broad that men of extraordinary intelligence cannot agree as to meaning must perforce be constitutionally deficient for vagueness.
By judicial fiat, 15 M.R.S.A. § 2552 is interpreted as if it read:
“The exclusive, original jurisdiction of juvenile courts shall include all offenses committed by juveniles and the following conduct of juveniles: * * * ;
“conduct of the juvenile while living in circumstances which make it clear that if such conduct is continued, there is manifest danger of falling into habits of criminal conduct . . . .”
It is also defined as a pattern of conduct which manifests or makes clear to all reasonable men that if persisted in and not changed, there is real danger that the conduct will, when the child becomes an adult, bring about violation of the criminal statutes.
Such a definition creates as much confusion and ambiguity as it attempts to resolve. First, it seems to require proof of active conduct, whether of commission or omission, not of a criminal nature in itself —(Violation of any criminal statute is a juvenile offense). Secondly, the conduct need not be misconduct — (eating as a glutton might be precursory to a life of thievery). Thirdly, there must be more than *580one act or omission, since the definition speaks of a pattern of conduct. Fourthly, the repeated conduct must be of such a nature that all reasonable men would conclude that if persisted in and not changed, there would exist a real danger when the child becomes an adult (in the near or distant future depending on the age of the child at the time) that because of such conduct he will violate the criminal laws. The new definition fails to delineate with sufficient precision the nature of the conduct which will activate the statute. The standards set up are so encompassing as to encourage arbitrary and discriminatory enforcement of the law and to force compliance with different life-styles deemed appropriate by the respective judges before whom the juvenile may be compelled to appear.
In its effort to prevent future criminality, the State can formulate legislation more compatible with our constitutional concepts of fundamental fair treatment which permits equal justice to the poor as well as to the rich, to the less fortunate as to the well oriented, to the troublesome as to the most docile juveniles.
The new definition does not limit the application of the statute to any reasonably identifiable situation. Where the statute may impinge upon First Amendment rights, it should be strictly construed. Its vagueness, or overbreadth, stamps it unconstitutional under the “void for vagueness” doctrine and little or no effort should be made to save such a statute by narrowing its application. State v. Hodges, 1969, Or., 457 P.2d 491; Thornhill v. Alabama, 1940, 310 U.S. 88, 60 S.Ct. 736, 84 L.Ed. 1093.
On the merits, I would declare the section of the statute at issue unconstitutional and would set aside the original adjudication of a juvenile offense in each case and order the respective petitioners released from their commitment and detention under it, since I conclude it gives insufficient notice to youth as to the reach of the law, provides law enforcement officers with no clear guide for evaluation of prohibited juvenile conduct, and offers the judge inadequate standards for inclusion and exclusion in the dispensation of even justice. It is impermissibly vague.

. Haley v. Ohio, 1948, 332 U.S. 596, 68 S.Ct. 302, 92 L.Ed. 224; Gallegos v. Colorado, 1962, 370 U.S. 49, 82 S.Ct. 1209, 8 L.Ed.2d 325; Kent v. United States, 1966, 383 U.S. 541, 86 S.Ct. 1045, 16 L.Ed.2d 84; In re Gault, 1967, 387 U.S. 1, 87 S.Ct. 1428, 18 L.Ed.2d 527; De Backer v. Brainard, 1969, 390 U.S. 28, 90 S.Ct. 163, 24 L.Ed.2d 148: In re Winship, 1970, 397 U.S. 358, 90 S.Ct. 1068, 25 L.Ed.2d 368.

